AO 245 S (Rev. 7192) Sheet I -Judgment in a Criminal Case


                 UNITED STATES DISTRICT COURT
                                              Eastern District of North Carolina

    UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                         v.                                           (For Offenses Committed On or After November 1, 1987)
    ANTONIO WILSON                                                                     Case Number: 3:92CR00035-3
 (a.k.a. HOOTCH )
                                                                         John R. Parker
     (Name of Defendant)                                                  Defendant's Attorney

THE DEFENDANT:
[ ] pleaded guilty to count(s) --~---------------------
[ ] pleaded nolo contendere to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    which (was) (were) accepted by the court.
[X] was found guilty on count(s)~l.o.::2~.4~·~6.~8'""'.1~0'""'.1~2:.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    after a plea of not guilty.
                                                                                     Date Offense  Count
Title/Sect             Nature of Offense                                              Concluded   Number(s)


 21 usc §846                  Conspiracy to Possess With Intent to Distribute Cocaine                 05/31/92
                              and Distribution of Cocaine
 18 USC §924(c)(1)            Use of a Firearm During and in Relation to a Drug                       05/31/92               2
                              Trafficking Offense and
         §2                    Aiding and Abetting
                                             (offense text continued on page 1. 01)

The defendant is sentenced as provided in pages 1 through _Q_ of this judgment.                            The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[ ] The defendant has been found not guilty on count(s) - - - - - - - - - - - - - - - -
    and is discharged as to such count(s).
[ ] Count(s)                                     (is)(are) dismissed on the motion of the United States.

   IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs,
and special assessments imposed by this judgment are fully paid.
Defendant's Soc. Sec. No.: _ _ _ _ _ __
Defendant's Date of Birth: 12/11/68
                                                                                                                     of Judgment

Defendant's Mailing Address:
                                                                                                                             Officer
207 VILLA DRIVE                                                                                                  /


FAYETTEVILLE                                        NC 28311                            MALCOLM J. HOWARD
                                                                                        UNITED STATES JUDGE
                                                                                        Name & Title of Judicial Officer
Defendant's Residence Addre:ss::, ~                          :')~,.... ~~,~   ..   ,




207 VILLA DRIVE
                                                                                                      Date




                        Case 3:92-cr-00035-H                Document 140                  Filed 05/25/93    Page 1 of 8
AO 245 S (Rev. 7/92) Sheet I -Judgment in a Criminal Case Continued


DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                                       Judgment-Page 1.01 of 6
                                                                                           Date Offense          count
Title/Sect                    Nature of Offense                                             Concluded           Number(s}


                                                (offense text continued from page 1)

 21 usc §841(a)(1)            Possession With Intent to Distribute and Distribution          05/31/92            4
                              of cocaine and
        §2                     Aiding and Abetting
 21 USC §841(a)(t)            Possession with Intent to Distribute and Distribution of       05/31/92            6
                              Cocaine
 21 usc §841(a)(1)            Possession With Intent to Distribute and Distribution          05/31/92            8
                              of cocaine and
        §2                     Aiding and Abetting
 21 usc §841Ca>C1)            Possession with Intent to Distribute and Distribution of       05/31/92            10
                              Cocaine
 21 USC §841(a)(1)            Possession with Intent to Distribute and Distribution of       05/31/92            12
                              Cocaine




                       Case 3:92-cr-00035-H                  Document 140       Filed 05/25/93    Page 2 of 8
AO 245 S (Rev. 7/92) Sheet 2- Imprisonment
DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                         Judgment--Page _l_ of ...Q_

                                             IMPRISONMENT
  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 420 months.

  360      months on Count(s): 1,4,6,8,10 & 12- concurrently together
   60      months on Count(s): 2- consecutive to Cts. 1,4,6,8,10 & 12


[X] The court makes the following recommendations to the Bureau of Prisons:




[X] The defendant is remanded to the custody of the United States Marshal.
[ ] The defendant shall surrender to the United States Marshal for this district.
    [ ] at         am/pm on             .
    [ ] As notified by the United States Marshal.

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
    [ ] before 2:00p.m. on               .
    [ ] As notified by the United States Marshal.
    [ ] As notified by the probation office.




                                               RETURN

   I have executed this judgment as follows:



   Defendant delivered on - - - - - - to --------------------------- at

------------------------------------' with a certified copy of this judgment.

                                                        UNITED STATES MARSHAL

                                                  By _ _~-~-~~--------­
                                                        Deputy Marshal

                       Case 3:92-cr-00035-H     Document 140      Filed 05/25/93      Page 3 of 8
AO 245 S (Rev. 7/92) Sheet 3- Supervised Release
DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                                                     Judgment--Page l            of _Q_

                                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 60 months.


      60 months as to Count(s): 1,4,6,8,10 & 12- concurrently together
      36 months as to Count(s): 2- Concurrently with Cts. 1,4,6,8,10 & 12


    The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons. While on supervised release, the
defendant shall not commit another federal, state, or local crime and shall not illegally possess a controlled
substance. The defendant shall not possess a firearm or destructive device. The defendant shall comply
with the standard conditions that have been adopted by this court (set forth below). If this judgment
imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant
pay any· such fine or restitution that remains unpaid at the commencement of the term of supervised
release in accordance with the schedule of payments set forth in the financial obligation portion of this
Judgment. The defendant shall comply with the following additional conditions:



The defendant shall not possess a firearm or destructive device.
The defendant shall not incur new credit charges or open additional lines of credit without the approval
of the probation office.
The defendant shall provide the probation office with access to any requested financial information.
The defendant shall participate as directed in a program approved by the probation office for the
treatment of narcotic addiction, drug dependency, or alcohol dependency which will include urinalysis
testing or other drug detection measures and may require residence or participation in a residential
treatment facility.
The defendant shall consent to a warrantless search by a United States probation officer or, at the
request of the probation officer, any other law enforcement officer, of his/her person and premises,
including any vehicle, to determine compliance with the conditions of this judgment.
The defendant shall submit a written weekly report to the probation office, if not regularly employed, of

                                          (supervisory text continued on page 3.01)



                                         STANDARD CONDITIONS OF SUPERVISION

 I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete written report
      within the first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer within 72 hours of any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other controlled
      substance, or any paraphernalia related to such substances, except as prescribed by physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
      granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
      observed in plain view of the probation officer;
II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics, and shall· permit the probation officer to make such notifications and to confirm the defendant's compliance with
      such notification requirement.
                        Case 3:92-cr-00035-H                   Document 140               Filed 05/25/93            Page 4 of 8
AO 245 S (Rev. 7/92) Sheet 3- Supervised Release Continued

DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                                  Judgment--Page _3JU_ of _Q_

                                                   SUPERVISED RELEASE


                                          (supervisory text continued from page 3)


attempts to secure gainful employment.




                        Case 3:92-cr-00035-H                 Document 140   Filed 05/25/93     Page 5 of 8
AO 245 S (Rev. 7/92) Sheet 5- Financial Obligations
DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                                                        Judgment--Page...!_ of _Q_

                                                 FINANCIAL OBLIGATIONS

    The defendant shall pay the following total financial penalties in accordance with the schedule of
      payments set out below:

             Count                           Assessment                                     Fine                                 Restitution

                  1            $                      50.00            $                         .oo               $                         .00
                  2            $                      50.00            $                         .00               $                         .00
                  4            $                      50.00            $                         .00               $                         .00
                  6            $                      50.00            $                         .oo               $                         .00
                  8            $                      50.00            $                         .00               $                         .00
                10             $                      50.00            $                         .00               $                         .00
                12             $                      50.00            $                         .00               $                         .00

Totals:                        $                  350.00               $                         .00                $                        .00

                                                                FINE
The fine includes any costs of incarceration and/or supervision.
[ ] The court has determined that the defendant does not have the ability to pay interest in full.
      It is ordered that:
     [ ] The interest requirement is waived.
     [ ] The interest requirement is modified as follows:

                                        RESTITUTION
Each restitution payment shall be divided proportionately among the payees named unless specified in the
priority payment column below. Restitution shall be paid to the following persons in the following amounts:

                                                                                                               Amount of             Priority Order
   Name of Payee                                                                                               Restitution              of Payment


                                   SCHEDULE OF PAYMENTS
Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal;
(4) fine costs; (5) interest; (6) penalties.

The total fine and other monetary penalties shall be paid as follows:
     [ ] in full immediate! y.
     [ ] in full not later than                              .
     [X] in installments which the probation officer shall establish and may periodically modify provided
          that the entire financial penalty is paid no later than 5 years after release from incarceration, if
          incarceration is imposed. If probation is imposed, not later than the expiration of probation.
     [ ] in monthly installments of $                over a period of           months. The probation officer
          may periodically modify the payment schedule, provided the penalty is paid in full in accordance
          with the term specified above. The first payment is due 30 days after the date of this judgment.
          The second and subsequent payments are due monthly thereafter.

All financial penalty payments are to be made to the U.S. Courts Fine Center, P.O. Box 198559, Atlanta, GA 30384, except those payments made through
the Bureau of Prisons' Inmate Financial Responsibility Program.

The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day after the date of the judgment, pursuant
to 18 U.S.C. §3612(1). All of the above payment options are subject to penalties for default and delinquency pursuant to 18 U .S.C. §3612(g).

Unless otherwise ordered by the court, any fmancial penalty imposed by this order shall be due and payable during the period of incarceration, with any unpaid
balance to be a condition of supervised release. Any financial penalties collected while the defendant is incarcerated shall be reported by the Bureau of Prisons
to the Clerk of the Court and the probation officer. The probation officer shall notify the United States District Court, the Clerk of the Court, and the United
States Attorney's Office of the payment schedule and any modifications to that schedule.

                         Case 3:92-cr-00035-H                   Document 140                Filed 05/25/93              Page 6 of 8
AO 245 S (Rev. 7/92) Sheet 6- Statement of Reasons
DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                          Judgment--Page 2_ of _Q_

                                               STATEMENT OF REASONS

[X] The Court adopts the factual findings and guideline application in the presentence report.

                                                       OR
[ · ] The Court adopts the factual findings and guideline application in the presentence report except

Guideline Ran&e Detennined by the Court:
          Total Offense Level:         40
          Criminal History Category:            IV
          Imprisonment Range:         360 to       Life months and _QQ.__ months consecutive.
          Supervised Release Range:           2 to        5 years
          Fine Range: $       25.000.00 to $ 18.000.000.00
                    [X] Fine waived or imposed below the guideline range, because of inability to pay.
          Restitution: $_ _ __
                    [ ] Full restitution is not ordered for the following reason(s):


[ ] The sentence is within the guideline range, that range does not exceed 24 months, and the court finds
    no reason to depart from the sentence called for by application of the guidelines.

                                                       OR
[X] The sentence is within the guideline range, that range exceeds 24 months, and the sentence is imposed
    for the following reasons(s):


      Inasmuch as the range exceeds 24 months, the court has imposed a sentence at the bottom of the range
      because of the defendant's age and lack of prior lengthy periods of incarceration.


                                                       OR
[ ] The sentence departs from the guideline range
[ ] upon motion of the government, as a result of defendant's substantial assistance.
[ ] for the following reason(s):




                        Case 3:92-cr-00035-H         Document 140   Filed 05/25/93     Page 7 of 8
AO 245 S (Rev. 7/92) Sheet 7- Denial of Federal Benefits
DEFENDANT: ANTONIO WILSON
CASE NUMBER: 3:92CR00035- 3                                                                Judgment--Page ..§._of..§._


                                    DENIAL OF FEDERAL BENEFITS
                           (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. §862(a)(1)

          IT IS ORDERED that the defendant shall be:

[X]       ineligible for all federal benefits for a period of 5 Years.
[ ]       ineligible for the following federal benefits for a period of _ _ __



                                                            OR

[ ]       Having determined that this is the defendant's third or subsequent conviction for distribution
          of controlled substances, IT IS ORDERED that the defendant shall be permanently ineligible
          for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. §862(b)(1)

          IT IS ORDERED that the defendant shall:
[ ]       be ineligible for all federal benefits for a period of _ _ __

[ ]       be ineligible for the following federal benefits for a period of _ _ __



[ ]       successfully complete a drug testing and treatment program.

[ ]        perform community service, as specified in the probation or supervised release portion of this
          judgment.
[ ]       Having determined that this is the defendant's second or subsequent conviction for possession of a
          controlled substance, IT IS FURTHER ORDERED that the defendant shall complete any drug treatment
          program and community service specified in this judgment as a requirement for the reinstatement of
          eligibility for federal benefits.
Pursuant to 21 U.S.C. §862(d)(1)(B), this denial of federal benefits does not include any retirement,
welfare, Social Security, health, disability, veterans benefit, public housing, or other similar benefits,
or any other benefit for which payments or services are required for eligibility.




                         Case 3:92-cr-00035-H              Document 140   Filed 05/25/93      Page 8 of 8
